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17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                      OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )             Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )             LOCAL RULE 79-5(F)(3) STATEMENT
                                        )             IN RESPONSE TO DEFENDANTS’
23           v.                         )             ADMINISTRATIVE MOTION TO
                                        )             CONSIDER WHETHER ANOTHER
24    NSO GROUP TECHNOLOGIES LIMITED )                PARTY’S MATERIAL SHOULD BE
      and Q CYBER TECHNOLOGIES LIMITED, )             FILED UNDER SEAL
25                                      )
                                        )             Ctrm:    3
26                    Defendants.       )             Judge:   Hon. Phyllis J. Hamilton
                                        )
27                                      )             Action Filed: 10/29/2019
                                        )
28                                      )
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          Pursuant to Civil Local Rule 79-5(f)(3), Plaintiffs WhatsApp LLC and Meta Platforms, Inc.

 3   (“Plaintiffs”), by and through their counsel, respectfully submit this response to the Administrative

 4   Motion to Consider Whether Another Party’s Material Should Be Filed Under Seal (the “Adminis-

 5   trative Motion”) filed by Defendants NSO Group Technologies Limited and Q Cyber Technologies

 6   Limited (“NSO”). Dkt. No. 382. The Administrative Motion identifies portions of the Joint Letter

 7   Brief Regarding Plaintiffs’ Communications with Law Enforcement (the “Joint Letter Brief”), Dkt.

 8   No. 382-2, Exhibits A, 1, 2, and 3 thereto (collectively, the “Materials”), as referencing or containing

 9   materials designated as “Highly Confidential – Attorneys’ Eyes Only” by Plaintiffs.

10          Plaintiffs request that the Court keep the Materials under seal, and do so pursuant to Local

11   Rules 79-5(c) and (d). The Materials comprise or refer to materials that have been designated and

12   produced in discovery as “Highly Confidential – Attorney’s Eyes Only” pursuant to the August 31,

13   2020 Stipulated Protective Order, Dkt. No. 132. The Materials refer to confidential communications

14   and technical files to which Plaintiffs owe a duty of confidentiality to a third party. See Dkt. No.

15   382-2, Exs. A, 1, 2, 3.

16          The appropriate standard for sealing here is “good cause.” The Materials are quoted in or are

17   attached to NSO’s discovery motion—a non-dispositive motion that only tangentially relates to the

18   case—so the moving party need only show “good cause” for why the documents should remain under

19   seal. Wells Fargo & Co. v. ABD Ins. & Fin. Servs., 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013)

20   (Hamilton, J.). “Good cause” requires only “a particularized showing” that sealing is appropriate,

21   which “will suffice to seal documents produced in discovery.” Kamakana v. City & Cty. of Honolulu,

22   447 F.3d 1172, 1180 (9th Cir. 2006); see also Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d

23   1092, 1097 (9th Cir. 2016) (“Applying the good cause standard from Rule 26(c) as an exception for

24   discovery-related motions makes sense, as the private interests of litigants are ‘the only weights on

25   the scale.’” (quoting Kamakana, 447 F.3d at 1180)).

26          Plaintiffs easily meet the applicable good-cause standard here. Courts have routinely held

27   that information subject to confidentiality obligations satisfies the compelling reasons standard,

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     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER
     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL - CASE NO. 4:19-CV-07123-PJH
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 1   which is far more “exacting” than the good-cause standard applicable here. In re Sony Gaming Net-

 2   works & Customer Data Sec. Breach Litig., 2015 WL 13653885, at *1 (S.D. Cal. Jan. 20, 2015)

 3   (permitting sealing records where the records were “subject to a contractual duty of confidentiality”);

 4   In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017) (concluding that the parties

 5   established compelling reasons to file under seal records that implicate “confidential business infor-

 6   mation” subject to confidentiality agreements). Publicly disclosing these materials would risk harm

 7   to the third party to whom Plaintiffs owe this duty, and this harm could not be mitigated by any means

 8   less restrictive than sealing.

 9           For the foregoing reasons, Plaintiffs request that the Materials that NSO submitted or refer-

10   enced remain under seal. This request is narrowly tailored to only sealable material (as identified by

11   the proposed redactions in the Administrative Motion).

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 1    Dated: September 26, 2024                   Respectfully Submitted,

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